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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 CLARKSBURG
 UNITED STATES OF AMERICA,

                        Plaintiff,

         v.                                          Criminal Action No.: 1:21-CR-41
                                                     (JUDGE KEELEY)

 STEPHEN BRAY,

                        Defendant.
                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

        This matter has been referred to the undersigned Magistrate Judge by the District Court

 for purposes of considering the record, the Information, and the proposed plea agreement in this

 matter, and conducting a hearing and entering into the record a written report and recommendation

 memorializing the disposition of Defendant’s guilty plea, pursuant to Federal Rule of Criminal

 Procedure 11. [ECF No. 4]. Defendant, Stephen Bray, by videoconferencing and by Counsel, John

 A. Carr, appeared before me on September 27, 2021 for an Initial Appearance, Arraignment, and

 Plea Hearing to an Information. The Government appeared by videoconference by Assistant United

 States Attorney, Brandon S. Flower.

         On March 30, 2020, Chief Judge Groh entered a standing order (“Standing Order”), In

  Re: Criminal Case Operations Due to COVID-19 Response, 3:20-MC-28, after the Judicial

  Conference of the United States (“JCUS”) found, pursuant to the CARES Act, H.R. 748

  (“CARES Act”), that emergency conditions due to the national emergency declared by President

  Donald J. Trump materially affect the functioning of the federal judiciary, generally, and that,

  specifically, emergency conditions exist in the Northern District of West Virginia. In so doing,

  Chief Judge Groh authorized certain criminal proceedings to be conducted by video conference,

  including pleas under Rule 11 of the Federal Rules of Criminal Procedure, because of the
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  possibility that such proceedings could seriously jeopardize public health and safety.

         Pursuant to the aforementioned Standing Order, when video teleconferencing is

  authorized in certain criminal proceedings, the presiding judge must find for specific reasons that

  the plea cannot be further delayed without serious harm to the interests of justice. Such

  authorization to proceed by video teleconferencing may occur only with consent of a defendant

  after consultation with counsel.

         On August 31, 2021, the Court entered an Order Regarding Proceedings by

  Videoconference/Teleconference stating that under the CARES Act this proceeding could be

  conducted by video or teleconferencing technology if certain circumstances existed and if certain

  requirements were satisfied, including the Defendant filing notice with the Court as to consent to

  proceed by videoconference and the specific reasons why a videoconference/teleconference was

  sought. [ECF No. 9].

         On September 17, Defendant, by counsel, filed a Notice Requesting to Appear by

  Videoconference/Teleconference, explaining that the Defendant prefers to reduce his risk of

  exposure and not to travel to the Clarksburg point of holding courthouse for an in-person hearing

  at this time due to concerns surrounding possible contraction of the COVID-19 virus. [ECF No.

  11]. Defendant cited to the Center for Disease Control and Prevention agency website which

  advises that travel increases one’s chance of contracting and spreading COVID-19. Defendant

  consented to conducting the Rule 11 hearing by videoconference and stated that he has the

  technological capabilities to permit him to appear and participate fully and meaningfully by video

  from Central Regional Jail.

         A Waiver of Personal Appearance and Consent to Appear by Videoconference was signed

  by both the Defendant and counsel and presented at the hearing. On the record, Defendant, with



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  the advice and benefit of counsel, reaffirmed that she would like to proceed with the plea hearing

  by videoconference. The Court ORDERED the fully executed Waiver of Personal Appearance

  and Consent to Appear by Videoconference be filed herein. [ECF No. 14].

         Here, the undersigned FINDS that this plea hearing could not be further delayed without

  serious harm to the interests of justice because of the unknown nature, extent, and duration of the

  COVID-19 pandemic, a local surge in case numbers due to the Delta variant, and the possible

  exposure risks associated with travel at this time.

         During the hearing, the Court gave notice to the Government’s attorney that pursuant to

  the Due Process Protections Act of 2020, the Court reminds counsel that under Brady v.

  Maryland, 373 U.S. 83 (1963) and its progeny, failing to disclose favorable evidence to the

  accused violates due process where the evidence is material either to guilt or punishment. Further,

  the Court noted that consequences for a Brady violation can include, but are not necessarily

  limited to, a vacated conviction and disciplinary actions against the prosecutor. The Court gave

  written notice to this effect to counsel and ORDERED the same filed herein. [ECF No. 15].

        The Court determined that Defendant was prepared to enter a plea of “Guilty” to Count

 One of the Information.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath

 and inquiring into Defendant’s competency. The Court determined Defendant was competent to

 proceed with the Rule 11 plea hearing and cautioned and examined Defendant under oath

 concerning all matters mentioned in Rule 11.

        The Court next inquired of Defendant concerning his understanding of his right to have

 an Article III Judge hear the entry of his guilty plea and his understanding of the difference

 between an Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court


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 that he voluntarily waived his right to have an Article III Judge hear his plea and voluntarily

 consented to the undersigned Magistrate Judge hearing his plea. Defendant tendered to the Court

 a written Waiver of Article III Judge and Consent to Enter Guilty Plea before Magistrate

 Judge. The waiver and consent was signed by Defendant, countersigned by Defendant's counsel,

 and concurred by the signature of the Assistant United States Attorney.

        Upon consideration of the sworn testimony of Defendant, as well as the representations

 of his counsel and the representations of the Government, the Court finds that the oral and

 written waiver of an Article III Judge and consent to enter a guilty plea before a Magistrate Judge

 was freely and voluntarily given. Additionally, the Court finds that the written waiver and consent

 was freely and voluntarily executed by Defendant Stephen Bray only after having had his rights

 fully explained to him and having a full understanding of those rights through consultation with

 his counsel, as well as through questioning by the Court. The Court ORDERED the written

 Waiver and Consent to Enter Guilty Plea before a Magistrate Judge filed and made part of the

 record. [ECF No. 18].

        The Court inquired of Defendant and Defendant’s Counsel as to Defendant’s knowledge

 and understanding of Defendant’s constitutional right to proceed by indictment, the voluntariness

 of Defendant’s consent to proceed by Information and of Defendant’s waiver of the right to

 proceed by indictment. Defendant and Defense Counsel verbally acknowledged their

 understanding and Defendant, under oath, acknowledged Defendant’s voluntary waiver of this

 right to proceed by indictment and Defendant’s agreement to voluntarily proceed by Information.

 Defendant also executed a written waiver of the same. [ECF No. 16]. The Court ORDERED the

 written waiver to indictment filed and made a part of the record.


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         Thereafter, the Court determined that Defendant's plea was pursuant to a written plea

  agreement and asked the Government to tender the original to the Court. The Court asked

  counsel for the Government if the agreement was the sole agreement offered to Defendant. The

  Government responded that a prior written plea agreement had been offered to Defendant in the

  underlying case of 1:19-cr-44-2; however, the Government offered this subsequent plea

  agreement to Information to the Defendant which was more favorable to Defendant to which he

  accepted. Defendant and his counsel confirmed the same on the record. The Court asked counsel

  for the Government to summarize the written plea agreement.

         Counsel for Defendant and Defendant stated that the agreement as summarized by

  counsel for the Government was correct and complied with their understanding of the

  agreement. The undersigned further inquired of Defendant regarding his understanding of the

  written plea agreement. Defendant stated he understood the terms of the written plea

  agreement and also stated that it contained the whole of his agreement with the Government

  and no promises or representations were made to him by the Government other than those

  terms contained in the written plea agreement. The Court ORDERED the written plea

  agreement filed and made a part of the record. [ECF No. 19].

         The undersigned then reviewed with Defendant Count One of the Information and the

  elements the Government would have to prove, charging him in Count One of the Information

  with Distribution of Cocaine Base, in violation of Title 21, United States Code, Sections

  841(a)(1) and 841(b)(1)(C). [ECF No. 1].

         Subsequently, Defendant Stephen Bray pled GUILTY to the charges contained in Count

  One of the Information. However, before accepting Defendant’s plea, the undersigned inquired


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  of Defendant’s understanding of the charges against him, inquired of Defendant’s understanding

  of the consequences of him pleading guilty to the charges, and obtained the factual basis for

  Defendant’s plea.

         The Government proffered a factual basis for the plea. Neither Defendant nor

  Defendant’s counsel did not dispute the proffer when given the opportunity to do so.

  Additionally, Defendant provided a factual basis for the commission of the offense. The

  undersigned Magistrate Judge concludes the offense charged in Count One of the Information

  is each supported by an independent basis in fact concerning each of the essential elements

  of such offense, and that independent basis is provided by the Government’s proffer.

         The undersigned then reviewed with Defendant the statutory penalties applicable to

  an individual adjudicated guilty of the charges contained in Count One of the Information and

  the impact of the sentencing guidelines on sentencing in general. From said review, the

  undersigned Magistrate Judge determined Defendant understood the nature of the charges

  pending against him and that the possible statutory maximum sentence which could be imposed

  upon his conviction or adjudication of guilty on Count One was imprisonment of not more than

  twenty (20) years, a fine of not more than $250,000.00, or both, and a term of three (3) years of

  supervised release.

         Defendant also understood that the Court would impose a total special mandatory

  assessment of one hundred dollars ($100), payable within forty (40) days following the entry

  of this plea. Defendant further understood that his sentence could be increased if he had a prior

  firearm offense, violent felony conviction, or prior drug conviction. He also understood that he

  might be required by the Court to pay the costs of his incarceration, supervision, and probation.

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        The undersigned also reviewed with Defendant his waiver of appellate and collateral

 attack rights. Defendant understood that he was waiving his right to appeal his conviction and

 sentence to the Fourth Circuit Court of Appeals on any ground whatsoever, including those

 grounds set forth in 18 U.S.C. § 3742. Defendant further understood that under his plea

 agreement, he was waiving his right to challenge his conviction and sentence in any post-

 conviction proceeding, including any proceeding under 28 U.S.C. § 2255. Defendant

 understood, however, that he was reserving the right to raise claims of ineffective assistance

 of counsel or prosecutorial misconduct that he learned about after the plea hearing and agreed

 that he was unaware of any ineffective assistance of counsel or prosecutorial misconduct in

 his case at this time. From the foregoing, the undersigned determined that Defendant understood

 his appellate rights and knowingly gave up those rights pursuant to the conditions contained in

 the written plea agreement.

         The undersigned Magistrate Judge further examined Defendant relative to his

  knowledgeable and voluntary execution of the written plea agreement and determined the

  entry into said written plea agreement was both knowledgeable and voluntary on the part of

  Defendant.

         The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

  Government as to the non-binding recommendations and stipulations contained in the written

  plea agreement and determined that Defendant understood, with respect to the plea

  agreement and to Defendant's entry of a plea of guilty to the charges contained in Count

  One of the Information. The undersigned Magistrate Judge informed Defendant that he would write

  the subject Report and Recommendation, and that a pre-sentence investigation report would


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  be prepared for the District Court by the probation officer attending. The undersigned advised

  the Defendant that the District Judge would adjudicate the Defendant guilty of the charge under

  Count One of the Information. Only after the District Judge had an opportunity to review

  the pre-sentence investigation report would the District Judget make a determination as to

  whether to accept or reject any recommendation or stipulation contained within the plea

  agreement or pre-sentence report. The undersigned reiterated to Defendant that the District

  Judge may not agree with the recommendations or stipulations contained in the written

  agreement. The undersigned Magistrate Judge further advised Defendant, in accord with

  Federal Rule of Criminal Procedure 11, that in the event the District Court Judge refused to

  follow the non-binding recommendations or stipulations contained in the written plea

  agreement and/or sentenced him to a sentence which was different from that which he expected,

  he would not be permitted to withdraw his guilty plea. Defendant and his counsel each

  acknowledged their understanding and Defendant maintained his desire to have his guilty

  plea accepted.

         Defendant also understood that his actual sentence could not be calculated until after a

  pre-sentence report was prepared and a sentencing hearing conducted. The undersigned also

  advised, and Defendant stated that he understood, that the Sentencing Guidelines are no longer

  mandatory, and that, even if the District Judge did not follow the Sentencing Guidelines or

  sentenced him to a higher sentence than he expected, he would not have a right to withdraw

  his guilty plea. Defendant further stated that his attorney showed him how the advisory guideline

  chart worked but did not promise him any specific sentence at the time of sentencing. Defendant

  stated that he understood his attorney could not predict or promise him what actual sentence he


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  would receive from the sentencing judge at the sentencing hearing. Defendant further

  understood there was no parole in the federal system, but that he may be able to earn

  institutional good time, and that good time was not controlled by the Court, but by the Federal

  Bureau of Prisons.

            Defendant, Stephen Bray, with the consent of his counsel, John A. Carr, proceeded to

 enter a verbal plea of GUILTY to the charge in Count One of the Information.

            Upon consideration of all of the above, the undersigned Magistrate Judge finds that

  Defendant is fully competent and capable of entering an informed plea; Defendant is aware of

  and understood his right to have an Article III Judge hear and accept his plea and elected to

  voluntarily consent to the undersigned United States Magistrate Judge hearing his plea;

  Defendant understood the charges against him, as to Count One of the Information; Defendant

  understood the consequences of his plea of guilty, in particular the maximum statutory penalties

  to which he would be exposed for Count One of the Information; Defendant made a knowing

  and voluntary plea of guilty to Count One of the Information; and Defendant's plea is

  independently supported by the Government's proffer which provides, beyond a reasonable

  doubt, proof of each of the essential elements of the charges to which Defendant has pled

  guilty.

            The undersigned Magistrate Judge therefore RECOMMENDS Defendant's plea of

  guilty to Count One of the Information herein be accepted conditioned upon the Court's receipt

  and review of this Report and Recommendation.

            The parties advised the Court on the record that the matter of Defendant’s detention has

  already been fully addressed in the underlying case. [Case No. 1:19-CR-44-2, ECF No. 17].


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  Counsel for the Government indicated its position that continued detention is merited based

  upon the Court’s prior Order and determination. Accordingly, the undersigned Magistrate Judge

  adopts and incorporates the prior Order detaining Defendant and ORDERS that the Defendant

  be REMANDED to the custody of the U.S. Marshal Service. [Case No. 1:19-CR-44-2, ECF

  No. 17].

           Any party shall have fourteen days from the date of filing this Report and Recommendation

  within which to file with the Clerk of this Court, specific written objections, identifying the

  portions of the Report and Recommendation to which objection is made, and the basis of such

  objection. A copy of such objections should also be submitted to the United States District Judge.

  Objections shall not exceed ten (10) typewritten pages or twenty (20) handwritten pages, including

  exhibits, unless accompanied by a motion for leave to exceed the page limitations, consistent with

  LR PL P 12.

          Failure to file written objections as set forth above shall constitute a waiver of de novo

 review by the District Court and a waiver of appellate review by the Circuit Court of

 Appeals. Snyder v. Ridenour, 889 F.2d 1363 (4th Cir. 1989); Thomas v. Arn, 474 U.S. 140 (1985);

 Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir.

 1984).

          The Clerk of the Court is directed to send a copy of this Report and Recommendation

 to counsel of record.

          Respectfully submitted on September 28, 2021.




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